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AO 106 (Rev. 04/10) Application for a Search Warrant - FlLED //V UN/ _ '
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UNITED STATES DISTRICT CoURT

 

for the [) M
' A
District of Utah By~..k_____m_h HK JONES, CLFRK
. BEF[TTYT:~ m
LER
In the Matter of the Search of ) `“K"""
(Bri;]"ly ciesc});ibe the pri;)perty to b:lsejc;;chej ) l g n
ori enti yt e person yname an a ress ) Case NO' 2 .' m 5 _"_ “
see Attachment A § ' l J q r7 R l 35
)

' APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that l have reason to believe that on the following person or property (idenrijj) the person or describe the

pr eeerliy“\ll)ac Srenae?\l(l£l,aih ri)iiétlcl)(hccénsos”oclated Wlth erghtkelthB€S@gmell.com stored at premises owned, malntamed,

controlled, or operated by Goog|e |nc., 1600 Amphitheatre Parkway, |V|ountain View, CA,'94043.

located in the Northern Division District of Ca|ifornia , there is now concealed ndemzyj) the
person or describe the property to be seized)!

 

See Attachment B

The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
LY{evidence of a crime;
l!{contraband, fruits of crime, or other items illegally possessed;
E{property designed for use, intended for use, or used in committing a crime;
l:| a person to be arrested or a person who is unlawfully restrained

' The search is related to a violation of:

Coa’e Seciion ' Ojj'ense Descrz`pl‘z`on
_ 18 U.S.C. 2252, 2252A Receipt, Distribution, Transportation, Reproduction and Possession of Chi|d

Pornography.
The application is based on these facts:

See Atfio|avit Attached Hereto and |ncorporated by Reference Herein

E{ Continued on the attached sheet

E| Delayed notice of ) is requested

 

  

 

Applicant 's signature

»mes Wright, SA, Home|and Security |nvestigations
\/ Prl'ntea’ name and title 5

 

Sworn to before me and signed in my presence.

Date: 10/16/2018 /74,@

City and state; Sa|t Lake City, Utah Robert T. Braithwaite, United States lVIagistrate J\L;;`d;qe

Prz'nted name and title

    

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THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF UTAH
Central Division

IN THE MATTER OF THE
vSEARCH OF‘:

Case No.
See Attachment A

AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

I, J ames Wright, a Special Agent (SA) with the Homeland Security Investigations (HSI),
being duly sworn, depose and state as follows:

INTRODUCTION

l. I have been employed as a Special Agent of the HSI since February 2004, and I
am-currently assigned to the HSI Salt Lal<e City Office of the Assistant Special Agent in Charge
(ASAC) and work with local, state, and other federal law enforcement agencies. While
employed by HSI, l have investigated federal criminal violations related to violent crimes against
children, including child exploitation and child pornography l have gained experience through
training at the HSI Cyber Crirnes Center (C3) in Fairfax, Virginia, and the Federal Law
Enforcement Training Center (FLETC) in Glynco, Georgia and everyday work relating to
conducting these types of investigations I have received training in the area of child
pornography and child exploitation, and have had the opportunity to observe and review
numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media

including computer media

 

 

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2. Moreover, 1 am a federal law enforcement officer who is engaged in enforcing the
criminal laws, including 18 U.S.C. §§ 2252 and 225 2A, and l am authorized by the Attorney
General to request a search warrant

FACTS AND CIRCUMSTANCES

3. This affidavit is submitted in support of an application for a search warrant for the
contents of and information pertaining to the Google, lnc. account Wrightkeith365@gmail.c0m
associated with CECIL KEITH WRIGHT(“SUBJECT ACCOUNT”), the contents of this Gmail
account and associated records residing with Google Legal lnvestigations Support, 1600
Amphitheatre Parl<way, Mountain View, CA 94043 which is more specifically described in
Attachrnent A, for contraband and evidence, fruits, and instrumentalities of violations of Title 18,
United States Code §§ 18 U.S.C. §§ 2252(a)(1) and (b)(l) (transportation of a visual depiction of
a minor engaged in sexually explicit conduct); 18 U.S.C. §§ 2252(a)(2) and (b)(l) (receipt and
distribution of a visual depiction of a minor engaged in sexually explicit conduct); 18 U.S.C.

§§ 2252(a)(3)(]3) and (b)(l) (sale and possession with intent to sell a visual depiction of a minor
engaged in sexually explicit conduct); 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) (possession and
access with intent to view a visual depiction of a minor engaged in sexually explicit conduct); 18
U.S.C. §§ 2252A(a)(l) and (b)(l) (transportation of child pornography); 18 U.S.C. §§
2252A(a)(2)(A) and (b)(l) (receipt and distribution of child pornography); and 18 U.S.C. §§
2252A(a)(5)(B) and (b)(2) (possession of child pomography); which items are more specifically
described in Attachment B.

4. The statements in this affidavit are based in part on information obtained and
provided by Weber County Sheriff”s Of`fice (WCSO) and Adult Probation & Parole (AP&P) and

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from my investigation of this matter. Since this affidavit is being submitted for the limited
purpose of securing a search warrant, I have not included each and every fact known to me
concerning this investigation I have set forth only the facts that 1 believe are necessary to
establish probable cause to believe that contraband and evidence, fruits, and instrumentalities of
violations of 18 U.S.C. §§ 2252(a)(1) and (b)(l) (transportation of a visual depiction of a minor
engaged in sexually explicit conduct); 18 U.S.C. §§ 2252(a)(2) and (b)(l) (receipt and
distribution of a visual depiction of a minor engaged in sexually explicit conduct); 18 U.S.C. §§
2252(a)(3)(B) and (b)(l) (sale and possession with intent to sell a visual depiction of a minor
engaged in sexually explicit conduct); 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) (possession and
access with intent to view a visual depiction of a minor engaged in sexually explicit conduct); 18
U.S.C. §§ 2252A(a)(l) and (b)(l) (transportation of child pornography); 18 U.S.C. §§
2252A(a)(2)(A) and (b)(l) (receipt and distribution of child pornography); and 18 U.S.C. §§

2252A(a)(5)(B) and (b)(2) (possession of child pornography) are located in the SUBJECT

ACCOUNT.
JURISDICTION
5. This Court has jurisdiction to issue the requested warrant because it is “a court of

competentjurisdiction” as defined by 18 U.S.C. § 2711(3). 18 U.S.C. §§ 2703(a), (b)(l)(A) &
(c)(l)(A). Specifically, this Court is a “district court of the United States (including a magistrate
judge of such court)” that “has jurisdiction over the offense being investigated.” 18 U.S.C. §

2711(3)(A)(i).

 

 

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STATUTORY AUTHORITY
6. As noted above, this investigation concerns alleged violations of the following:

a. Title 18, United States Code, Sections 2252(a)(l) and (b)(l) prohibit any person
from knowingly transporting or shipping, or attempting or conspiring to transport
or ship, any visual depiction using any means or facility of interstate or foreign l
commerce, or in or affecting interstate or foreign commerce, by any means
including by computer, if the production of such visual depiction involved the use
of a minor engaging in sexually explicit conduct and such visual depiction is of
such conduct.

b. Title 18, United States Code, Sections 2252(a)(2) and (b)(l) prohibit any person
from knowingly receiving or distributing or attempting or conspiring to receive
or distribute, any visual depiction using any means or facility of interstate or
foreign commerce, or that has been mailed or shipped or transported in or
affecting interstate or foreign commerce, or which contains materials which have
been mailed or so shipped or transported, by any means including by computer, or
knowingly reproduces any visual depiction for distribution using any means or
facility of interstate or foreign commerce, or in or affecting interstate or foreign
commerce or through the mails, if the production of such visual depiction
involved the use of a minor engaging in sexually explicit conduct and such visual
depiction is of such conduct

c. Title 18, United States Code, Sections 2252(a)(3)(B) and (b)(l) prohibit any
person from knowingly selling or possessing.with the intent sell, or attempting or

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conspiring to sell or possessing with the intent to sell, any visual depiction that
has been mailed, shipped, or transported using any means or facility of interstate
or foreign commerce, or has been shipped or transported in or affecting interstate
or foreign commerce, or which was produced using materials which have been
mailed or so shipped or transported using any means or facility of interstate or
foreign commerce, including by computer, if the production of such visual
depiction involved the use of a minor engaging in sexually explicit conduct and
such visual depiction is of such conduct

Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2) prohibit any
person from knowingly possessing or accessing with the intent to view, or
attempting or conspiring to possess or access with the intent to view, 1 or more
books, magazines, periodicals, films, video tapes, or other matter which contain
any visual depiction that has been mailed, or has been shipped or transported
using any means orfacility of interstate or foreign commerce or in or affecting
interstate or foreign commerce, or which was produced using materials which
have been mailed or so shipped or transported, by any means including by
computer, if the production of such visual depiction involved the use of a minor
engaging in sexually explicit conduct and such visual depiction is of such
conduct

Title 18, United States Code, Sections 2252A(a)(l) and (b)(l) prohibit a person
from knowingly mailing, or transporting or shipping using any means or facility
of interstate or foreign commerce or in or affecting interstate or foreign commerce

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by any means, including by computer, any child pornography, as defined in 18
U.S.C. § 2256(8), or attempting or conspiring to do so.
Title 18, United States Code, Sections 2252A(a)(2)(A) and (b)(l) prohibit a
person from knowingly receiving or distributing, or attempting or conspiring to
receive or distribute, any child pornography or any material that contains child
pornography, as defined in 18 U.S.C. § 2256(8), that has been mailed, or using
any means or facility of interstate or foreign commerce shipped or transported in
or affecting interstate or foreign commerce by any means, including by computer.
Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2) prohibit a
person from knowingly possessing or knowingly accessing with intent to view, or
attempting or conspiring to do so, any material that contains an image of child
pornography, as defined in 18 U.S.C. § 2256(8), that has been mailed, or shipped
or transported using any means or facility of interstate or foreign commerce or in
or affecting interstate or foreign commerce by any means, including by computer,
or that was produced using materials that have been mailed or shipped or
transported in or affecting interstate or foreign commerce by any means, including
by computer. .
DEFINITIONS

The following definitions apply to this Affidavit and Attachments A and B:
a. “Chat,” as used herein, refers to any kind of text communication over the

lnternet that is transmitted in real-time from sender to receiver. Chat

messages are generally short in order to enable other participants to respond

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quickly and in a format that resembles an oral conversation This feature
distinguishes chatting from other text-based online communications such as
Internet forums and email.

b. “Child Erotica,” as used herein, means materials or items that are sexually
arousing to persons having a sexual interest in minors but that are not
necessarily, in and of themselves, obscene or that do not necessarily depict
minors in sexually explicit poses or positions

c. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual
depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct, (b)
the visual depiction is a digital image, computer image, or computer- generated
image that is, or is indistinguishable from, that of a minor engaged in sexually
explicit conduct, or (c) the visual depiction has been created, adapted, or
modified to appear that an identifiable minor is engaged in sexually explicit
conduct.

d. “Computer,” as used herein, refers to “an electronic, magnetic, optical,
electrochemical, or other high speed data processing device performing
logical or storage functions, and includes any data storage facility or
communications facility directly related to or operating in conjunction with
such device” and includes smartphones, and mobile phones and devices. See

is U.s.C. § 1030(6)(1).

 

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A provider of “Electronic Communication Service” (“ESP”), as defined in 18
U.S.C. § 2510(15), is any service that provides to users thereof the ability to
send or receive wire or electronic communications For example, “telephone
companies and electronic mail companies” generally act as providers of
electronic communication services See S. Rep. No. 99-541 (1986), reprinted
in 1986 U.S.C.C.A.N. 3555, 3568.

“File Transfer Protocol” (“FTP”), as used herein, is a standard network
protocol used to transfer computer_files from one host to another over a
computer network, such as the Internet. FTP is built on client-server
architecture and uses separate control and data connections between the client
and the server.

“Internet Protocol address” or “IP address,” as used herein, refers to a unique
number used by a computer to access the Internet. IP addresses can be

' “dynamic,” meaning that the ISP assigns a different unique number to a
computer every time it accesses the Internet. IP addresses might also be
“static,” if an ISP assigns a user’s computer a particular IP address that is used
each time the computer aceessesthe Internet.

“lnternet Service Providers” (“lSPs”), as used herein, are commercial
organizations that are in business to provide individuals and businesses access
to the lnternet. ISPs provide a range of functions for their customers
including access to the lnternet, web hosting, e-mail, remote storage, and co-

location of computers and other communications equipment

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k.

“Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the age
of eighteen years

“Records,” “documents,” and “materials,” as used herein, include all

information recorded in any form, visual or aural, and by any means, whether

in handmade, photographic, mechanical, electrical, electronic, or magnetic
form.

“Remote Computing Service” (“RCS”), as defined in 18 U.S.C. § 2711(2), is
the provision to the public of computer storage or processing services by
means of an electronic communications system.

“Short l\/lessage Service” (“SMS”), as used herein,, is a service used to send
text messages to mobile phones SMS is also often referred to as texting,
sending text messages or text messaging. The service allows for short text
messages to be sent from one cell phone to another cell phone or from the
Web to another cell phone. The term “computer,” as defined in 18 U.S.C. §
1030(e)(1), means an electronic, magnetic, optical, electrochemical, or other
high speedldata processing device performing logical, arithmetic, or storage
functions, and includes any data storage facility or communications facility
directly related to or operating in conjunction with such device.

“Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means actual

or simulated (a) sexual intercourse, including genital~genital, oral-genital, or

oral-anal, whether between persons of the same or opposite sex; (b) bestiality;

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(c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition
of the genitals or pubic area of any person.

n. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes undeveloped
film and videotape, data stored on computer disc or other electronic means
which is capable of conversion into a visual image, and data which is capable
of conversion into a visual image that has been transmitted by any means, v
whether or not stored in a permanent format

o. c‘Webeam,” as used herein, refers to a front~facing video camera that attaches
to a computer or that is built into a laptop or desktop screen. lt is widely used
for video calling as well as to continuously monitor an activity and send it to a
Web server for public or private viewing. Webcams generally have a
microphone built into the unit or use the computer’s microphone for audio.

BACKGROUND ON CHILD PORNOGRAPHY. COMPUTERS. THE INTERNET. AND
EMAIL

8. l have had both training and experience in the investigation of computer-related
crimes Based on my training, experience, and knowledge, lknow the following:

a. Computers and digital technology have dramatically changed the way in which
individuals interested in child pornography interact with each other. Computers
basically serve four functions in connection with child pornography: production,
communication, distribution, and storage.

b. Child pornographers can now transfer printed photographs into a computer-

readable format with a device known as a scanner. Furthermore, with the advent

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of digital cameras and smartphones with cameras, when the photograph is taken it
1 is saved as a digital file that can be directly transferred to a computer by simply
connecting the camera or smartphone to the computer In the last ten years, the
resolution of pictures taken by digital cameras and smartphones has increased
dramatically, meaning that such pictures have become sharper and crisper.

Photos taken on a digital camera or smartphone may be stored on a removable
memory card in the camera or smartphone These memory cards often store up to
32 gigabytes of data, which provides enough space to store thousands of high-
resolution photographs Video camcorders, which once recorded video onto tapes
or mini~CDs, now can save video footage in a digital format directly to a hard
drive in the camera. The video files can be easily transferred from the cameorder
to a computer l

A device known as a modern allows any computer to connect to another computer
through the use of telephone, cable, or wireless connection Electronic contact
can be made to literally millions of computers around the world. The ability to
produce child pornography easily, reproduce it inexpensively, and market it
anonymously (through electronic communications) has drastically changed the
method of distribution and receipt of child pornography Child pornography can
be transferred via electronic mail or through file transfer protocols (FTPS) to
anyone with access to a computer and modem. Because of the proliferation of

commercial services that provide electronic mail service, chat services (i.e.,

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“lnstant l\/fessaging”), and easy access to the lnternet, the computer is a preferred
method of distribution and receipt of child pornographic materials

The computer’s ability to store images in digital form makes the computer itself
an ideal repository for child pornography The size of the electronic storage
media (commonly referred to as the hard drive) used in home computers has
grown tremendously within the last several years These drives can store
thousands of images at very high resolution In addition, there are numerous
options available for the storage of computer or digital files One-Terabyte
external and internal hard drives are not uncommon Other media storage devices
include CDs, DVDs, and “thumb,” “jump,” or “flash” drives, which are very
small devices which are plugged into a port on the computer lt is extremely easy
for an individual to take a photo or a video with a digital camera or camera-
bearing smartphone, upload that photo or video to a computer, and then copy it
(orlany other files on the computer) to any one of those media storage devices
(CDs and DVDs are unique in that special software must be used to save or
“burn” files onto them). l\/ledia storage devices can easily be concealed and
carried on an individual’s person Smartphones and/or mobile phones are also
often carried on an individual’s person

The Internet affords individuals several different venues for obtaining, viewing,
and trading child pornography in a relatively secure and anonymous fashion
Individuals also use online resources to retrieve and store child pornography,

including services offered by Internet Portals such as Gmail and Hotmail, among

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others The online services allow a user to set up an account with a remote
computing service that provides e-mail services as Well as electronic storage of
computer files in any variety of formats A user can set up an online storage
account from any computer with access to the lnternet. Even in cases where
online storage is used, however, evidence of child pornography can be found on
the user’s computer or external media in most cases

As is the case with most digital technology, communications by way of computer
can be saved or stored on the computer used for these purposes Storing this
information can be intentional, i.e., by saving an e-mail as a file on the computer
or saving the location of one’s favorite websites in, for example, “bookmarked”

files Digital information can also be retained unintentionally, e.g., traces of the

path of an electronic communication may be automatically stored in many places `

(e.g., temporary files or ISP client software, among others). In addition to
electronic communications a computer user’s Internet activities generally leave
traces or “footprints” in the web cache and history files of the browser used. Such
information is often maintained indefinitely until overwritten by other data.

ONLINE SEXUAL EXPLOITATION OF CHILDREN
VIA SOCIAL MEDIA. EMAIL AND THE INTERNET

Based on my training and experience, l know of ways that individuals entice,

coerce and exploit children and minors online for the purpose of illicit sexual conduct. Based on

my training and experience working child exploitation investigations and online enticement

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investigations individuals will look and seek minors, both male and female and make contact
with them for the purpose of engaging in illicit sexual conduct with those minors

10. Individuals use email, social media and messaging applications (apps) to facilitate
their enticement of those minors Individuals begin with non-sexual messages and build a
relationship with the minors eventually turning the conversation sexual and requesting “selfies”
of the minor either partially nude, completely nude or performing a sex act.

TECHNICAL INFORMATION REGARDING GMAIL
Gmail E-mail

11. Based on my training and experience, and publicly available information 1 have
learned that Google, Inc. provides a variety of on-line services, including e-mail access, to the
general public. Google, Inc. allows subscribers to obtain email accounts at the domain name
-gmail.com, like the email account listed in Attachment A. Subscribers obtain a Gmail email
account by registering with Google. During the registration process, Google asks subscribers to
provide basic personal information Therefore, the computers of Google, Inc are likely to
contain stored electronic communications (including retrieved and unretrieved e-mail for
Google, Inc. subscribers) and information concerning subscribers and their use of Google, lnc.
services, such as account access information, e~mail transaction information, and account
application information

12. In general, an e-mail that is sent to a Google, Inc. subscriber is stored in the
subscriber’s “mail box” on Google, vInc. servers until the subscriber deletes the e~mail. If the
subscriber does not delete the message, the message can remain on Google, Inc. ’s servers

indefinitely The user can move and store messages in personal folders such as a “sent folder.”

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In recent years, Google, lnc., and other ISPs have provided their users with larger storage
capabilities associated with the user’s e-mail account. Google, lnc., and other lSPs have allowed
users to store up to one (1) terabyte of information associated with the account on ISP servers.
Based on conversations with other law enforcement officers with experience in executing and
reviewing search warrants of e-mail accounts, 1 have learned that search warrants for e~mail
accounts and computer systems have revealed stored e~mails sent and/or received many years
prior to the date of the search.

13. When the subscriber sends an e~mail, it is initiated at the user’s computer or
mobile device, transferred via the Internet to Google, Inc. ’s servers, and then transmitted to its
end destination Google, Inc. typically saves a copy of the e-mail sent. Unless the sender of the
e-mail specifically deletes the e-mail from the Google, Inc. server, the e-mail can remain on the
system indefinitely

14. A sent or received e-mail typically includes the content of the message (including
attachments), source and destination addresses, the date and time at which the e-mail was sent,
and the size and length of the e-mail. If an e-mail user writes a draft message but does not send
it, that message may also be saved by Google, lnc. but may not include all of these categories of
data.

15. l A Google, Inc. subscriber can also store files, including e-mails, address books,
contact or buddy lists, calendar data, pictures, and other files, on servers maintained and/or
owned by Google, Inc. In my training and experience, evidence of who was using an email
account may be found in address books, contact or buddy lists, email in the account, and

attachments to emails, including pictures and files

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16. l\/lany subscribers to Google, lnc. do not store copies of the e~mails stored in their
Google, Inc. account on their home computers This is particularly true because they access their
Google, Inc. account through the Internet, and thus it is not necessary to copy e-niails to a home -
computer to use the service. Moreover, an individual may not wish to maintain particular e~
mails or files in their residence to ensure others with access to the computer cannot access the e~
mails

17. In my training and experience, generally, e~mail»providers like Google, lnc. ask
each of their subscribers to provide certain personal identifying information when registering for
an e-mail account This information can include the subscriber’s full name, physical address
telephone numbers (usually a mobile number) and other identifiers, alternative e-mail addresses
and, for paying subscribers means and source of payment (including any credit card or bank
account number). In my training and experience, such information may constitute evidence of
the crimes under investigation because the information can be used to identify the account’s user
or users Based on my training and my experience, 1 know that even if subscribers insert false
information to conceal their identity, 1 know that this information often provide clues to their
identity7 location or illicit activities

18. The mobile number and alternate e~mail information provided to Google, lnc., by
the user are particularly useful in instances where a user needs to recover his/her account in the
event of a lost password or account compromise With these, Google, Inc. can send a “reset
password” link to the alternate e-mail address or an Sl\/IS message to the mobile number Upon
receiving the “reset password” link to an Sl\/IS mobile number affiliated with that account, the

user can then reset the password in order to continue to utilize that particular account. Because

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both'a mobile device number and alternate e-mail address are used to recover access to an
account, they both tend to be closely associated with the user of the account. lt is important to
note that though Gmail attempts to validate the personal identifying information provided by
subscribers the validation requires additional voluntary input from users As this additional
input is voluntary, Gmail is not always successful in validating a user’s personal identifying
information l

19. When creating an account at Google, lnc., the user is provided the opportunity to
create a display name and an associated “Profile.” Google, lnc. allows a user to personalize their
Profile by “adding an image that represents you.” The display name and display image a user
provides for their Profile is public and can be seen by anyone, even if the user chooses to keep
the rest of their Profile hidden from other users

20. ln my training and experience, e-mail providers typically retain certain
transactional information about the creation and use of each account on their systems This
information can include the date on which the account was created, the length of service, records
of log-in (i.e., session) times and durations, the types of service utilized, the status of the account
(including whether the account is inactive or closed), the methods used to connect to the account
(such as logging into the account via Google, lnc_. ’s website), and other log files that reflect
usage of the account ln addition, e~mail providers often have records of the lP address used to
register the account and the lP addresses associated with particular logins to the account.
Because every device that connects to the Internet must use an IP address lP address information

can help to identify which computers or other devices were used to access the e~mail account.

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21. ln my training and experience, in some cases e-mail account users will
communicate directly with an e-mail service provider about issues relating to the account, such
as technical problems billing inquiries or complaints from other users E~mail providers
typically retain records about such communications including records of contacts between the
user and the provider’s support services as well as records of any actions taken by the provider
or user as a result of the communications ln my training and experienee, such information may
constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users

22. ln my training and experience, e~mail users often use e-mail accounts for
everyday transactions because it is fast, low-cost, and simple to use. People use e-mail to
communicate with friends and family, manage accounts pay bills and conduct other online
business E-mail users often keep records of these transactions in their e-mail accounts to
include personal identifying information such as name and address

23. ln my training and experience, evidence of who was using an e-mail account may
be found in address books contact or buddy lists e-mail in the account, and attachments to
e-mails including pictures and files

24. As explained herein, information stored in connection with an email account may
provide crucial evidence of the “who, what, why, when, Where, and how” of the criminal conduct
under investigation thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion ln my training and experience, the
information stored in connection with an email account can indicate who has used or controlled

the account This “user attribution” evidence is analogous to the search for “indicia of

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occupancy” while executing a search warrant at a residence For example, email
communications contacts lists and images sent (and the data associated with the foregoing, such
as date and time) may indicate who used or controlled the account at a relevant time. Further,
information maintained by the email provider can show how and when the account was accessed
or used., For example, as described below, email providers typically lo g the Internet Protocol
(IP) addresses from which users access the email account along with the time and date. By
determining the physical location associated with the logged lP addresses investigators can
understand the chronological and geographic context of the email account access and use relating
to the crime under investigation This geographic and timeline information may tend to either
inculpate or exculpate the account owner Additionally, information stored in the user’s account
may further indicate the geographic location of the account user at a particular time (e.g.,
location information integrated into an image or video sent via email). Lastly, stored electronic
n data may provide relevant insight into the email account owner’s state of mind as it relates to the
offense under investigation For example, information in the email account may indicate the
owner’s motive and intent to commit a crime (e.g., communications relating to the crime), or
consciousness of guilt (e.g., deleting communications in an effort to conceal them from law
enforcement).
BACKGROUND OF THE INVESTIGATION

25. On or about September 12, 2018, WRlGl-lT was taken into custody for violation

of his parole agreement with AP&P. Upon being taken into custody, a laptop computer owned

and belonging to WRIGHT was seized.

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26. On or about September 12, 2018, Detective Cameron Hartman, WCSO requested
my assistance to examine the hard drive of the laptop, based on_ the parole agreement has
WRIGHT with AP&P.

27. On or about September 12, 2018, Special Agent (SA) James Wright, HSl Salt
Lake City, examined the contents of the hard drive and found seven still images files in the
following location: WindoWS\USers\OWner\Pictures\iCl0ud Photos\])ownloads.

28. On or about September 12, 2018, SA Wright and Detective l-lartman looked at the
seven (7) images with the following descriptions

o “0550D3C1-CAAE~4C33~86D3~84CA5A5A71AF-2925 _
00001DDF5E98388.jpeg”
This is a still image file of what appears to be a prepubescent female with her
genitalia exposed to the camera

o “2E817FE9-0204-4113-BOC0~B8DBA8E3F1135-2925-
000001B73DC415C5.jpeg” l
This is a still image file of what appears to be a prepubescent female, nude, with
her finger in her vagina.

¢ “5A693747-893B-FD91-B059~1FDC7CAB373F~2925-
000001DC6F17FFBB.jpeg” t
This is a still image of what appears to be a prepubescent female, with her
buttocks exposed

v “6C03C3D9~1796~42A8-8098-222A31F80BFE-2925-

000001DBCB27F844.jpeg”
` 20

 

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29.

This is a still image file of what appears to be a nude prepubescent female facing

the camera with genitalia exposed

“6D966752-4C9A-4CC6-ABCE~3D05296BD38C-2925-000001D64COFEE.jpeg”
This is a still image file of what appears to be a nude prepubescent female, facing
the camera, With unseen adult male, with erect penis having anal intercourse with
the female.

“C8DA04EB-B220-44EC~8FCD-9D3A93CEFAD2~2925-
000001D64245E534.jpeg

This is a still image file of what appears to be two nude prepubescent females
with one having their genitalia exposed, involved in sexual activities
“Dl73F053-484E-4C36~A6A5-lB9B8A20ADDB-2925-
000001DBC3521F86.jpeg”

This is a still image file of what appears to be a partially nude prepubescent
female with her genitalia exposed

lt is believed that WRIGHT used online accounts and user profiles to access

download, and possess child pornography

30.

On or about September 21, 2018, a preservation letter was submitted to Google

Legal lnvestigations Support to preserve the contents of WRIGHT’S Gmail account

31.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

l anticipate executing this warrant under the Eleetronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(0)(1)(A), by using the warrant

to require Google, lnc. to disclose to the government copies of the records and other information

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(including the content of eommunications) particularly described in Attachment A and Section l
of Attachment B. Upon receipt of the information described in Section l of Attachment B,
government-authorized persons will review that information to locate the items described in
Section ll of Attachment B.
C()NCLUSION

32. Based on my training and experience, and the facts as set forth in this affidavit,
there is probable cause to believe that on computer systems owned, maintained, controlled and/or
operated by Google, lnc., there exists evidence of a crime,' contraband, instrumentalities and/or
fruits of violations of criminal laws as specified herein, including identification of the person
who used the electronic account described in Attachment A. The facts outlined above show that
the SUBJECT ACCOUNT listed in Attachment A has been used to produce child pornography,
receive visual depictions of a minor engaged in sexually explicit conduct, possession and access
with intent to view a visual depiction of a minor engaged in sexually explicit conduct, receipt,
possession and distribution of child pornography, and coercion and enticement. There is
probable cause to believe that the user of the SUBJECT ACCOUNT used the SUBJECT
ACCOUNT to violate the aforementioned statutes in the District of Utah.

33. Because the warrant will be served on Google, lnc., who will then compile the
requested records at a time convenient to it, there exists reasonable cause to permit the execution
of the requested warrant at any time in the day or night Pursuant to 18 U.S.C. § 2703(g), the

presence of a law enforcement officer is not required for the service or execution of this Warrant.

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REOUEST FOR SEALING (PF APPLICATION/AFFIDAVIT
34. l request that the Court order that all papers submitted in support of this
application including this affidavit, the application the warrant, and the Order itself, be sealed
until further order of the Court, except that a copy of the warrant, including its attachments shall

be served upon Google, lnc. These documents discuss an ongoing criminal investigation that is

neither public nor known to all the targets of the investigation Accordingly, there is good cause l

to seal these documents because their premature disclosure may give targets an opportunity to
flee, destroy or tamper with evidence, change patterns of behavior, notify confederates or

otherwise seriously jeopardize the investigation

 

  

/ eland Security lnvestigations

Sworn and Subscribed before me this /Mh day of October, 2018.

 

 

  

 

 

 

Cris P. Ortega
Assistant United States Attorney

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ATTACHMENT A
Property to Be Searched

This warrant applies to the contents of and information associated with
wrightkeith3 65 @ gmail.com, a Gmail email account that is stored at premises controlled by
Google, lnc., a company that accepts service of legal process at Google Legal lnvestigations

Support, 1600 Amphitheatre Parkway, l\/lountain View, CA 94043.

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ATTACHMENT B

Particular Things to be Seized and Proeedures
to Facilitate Execution of the Warrant

I. Information to be disclosed by Gmail (the “Provider”) to facilitate execution of .
the Warrant

To the extent-that the information described in Attachment A is within the possession
eustody, or control of Google, lnc. , including any emails records files logs or information that
have been deleted but are still available to Google, lnc. , or have been preserved pursuant to a
request made under 18 U.S.C. § 2703(f) on May 24, 2017, Google, lnc. is required to disclose
the following information to the government for each account or identifier listed in Attachment
A, including any information contained in that email account which is helpful to determine the
account user’s or owner’s true identity:

a. The contents of all e-mails associated with the account, including stored or
preserved copies of emails sent to and from the account, email attachments draft emails deleted
emails the source and destination addresses associated with each email, the date and time at
which each email was sent, and the size and length of each e-mail;

b. The contents of all lnstant l\/lessages (ll\/l) associated with the account, from the

time of account creation to the present, including stored or preserved copies of ll\/ls sent to and

from the account, lM attachments draft ll\/ls the source and destination addresses associated

with each ll\/l, the date and time at which each 11\/1 was sent, and the size and length of each ll\/l; _

c. All records or other information regarding the identification of the account, to
include full name, physical address telephone numbers and other identifiers records of session

times and durations the date on which the account was created, the length of service, the lP

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address used to register the account, log~in lP addresses associated with session times and dates
account status alternative e-mail addresses provided during registration methods of connecting,
log files and means and source of payment (including any credit or bank account number);

d. The types of service utilized;

e. All records or other information stored by an individual using the account,
including address books contact and buddy lists calendar data, pictures and files

f. All records pertaining to communications between Google, lnc. and any person
regarding the account, including contacts with support services and records of actions taken

The Provider shall deliver the information set forth above via United States mail, courier,

or e-mail to:

SA JAMES WRIGHT

HSl Salt Lake City

2975 South Decker Lake Drive
West Valley City, Utah 84119
james.p.wright@ice.dhs. gov

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II. Information to be seized by the government
1. All information described above in Section l that was created or saved after
August 4, 2015, that constitutes contraband or fruits evidence or instrumentalities of violations
of 18 U.S.C. § 2251 (a), (c), and (e) (production and attempted production of child pornography);
18 U.S.C. §§ 2252(a)(2) and (b)(l) (receipt and distribution of a visual depiction of a minor
engaged in sexually explicit conduct); 18 U.S.C. §§ 2252(a)(3)(B) and (b)(l) (sale and
possession with intent to sell a visual depiction of a minor engaged in sexually explicit conduct);
18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) (possession and access with intent to view a visual 1
depiction of a minor engaged in sexually explicit conduct); 18 U.S.C. § 2252A(a)(2)(A) and
(b)(l) (receipt and distribution of child pornography); 18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
(possession of child pornography); and 18 U.S.C. § 2422(b) (coercion and enticement),
including, for each account or identifier listed on Attachment A, information pertaining to the
following matters
a. n Any person employing, using, persuading, inducing, enticing, or coercing any
minor to engage in any sexually explicit conduct for the purpose of producing any
visual depiction of such conduct or for the purpose of transmitting a live visual
depiction of such conduct, or attempting or conspiring to do so;
b. Any person knowingly distributing, receiving, or possessing child pornography as
defined at 18 U.S.C. § 2256(8), or attempting or conspiring to do so; n
c. Any person knowingly persuading, inducing, enticing, or coercing any individual
who has not attained the age of 18 years to engage in any sexual activity for which

any person can be charged, or attempting to do so;

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Evidence indicating how and when the email account was accessed or used, to
determine the geographic and chronological context of account access use, or events
relating to the crime under investigation and to the email account owner or user;

Evidence indicating the email account user’s or owner’s state of mind as it relates
to the crime under investigation

The identity of the person(s) who created or used the user lD, including records
that help reveal the whereabouts of such person(s);

Records relating to who created, used, or communicated with the electronic
account or identifier listed in Attachment A about matters relating to the criminal
activity listed above, including identification of coconspirators accomplices and
aiders and abettors in the commission of the above offenses including records that
help reveal their whereabouts

Credit card information and money wire transmittal information including bills

payment records and any receipts for payments to third party money remitters including

Xoom.com, Western Union PayPal, and MoneyGram.

Evidence of who used, owned,_or controlled the account or identifier listed on

Attachment A, including evidence of their whereabouts

Evidence of the times the account or identifier listed on Attachment A was used;

Passwords and encryption keys and other access information that may be

necessary to access the account or identifier listed on Attachment A and other associated

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
BUSINESS RECORDS PURSUANT TO FEDERAL RULE
OF EVIDENCE 902(111

 

l, , attest, under penalties of perjury under the
laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. l am employed by Google, lnc., and my official

title is . lam a custodian of records for Google, lnc. l state

 

that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of Google,, lnc. , and that l am the custodian of the attached records
consisting of § (pages/CDs/kilobytes). l further state that:

a. All records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person
with knowledge of those matters

b. Such records were kept in the ordinary course of a regularly conducted business
activity of Google, lnc. ; and

c. Such records were made by Google, lnc. as a regular practice.

n `l further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.

 

 

Date Signature

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